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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
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 9
10   Douglas Baker,                             )   CV 13-8246-PCT-PGR
                                                )
11              Plaintiff,                      )
                                                )   ORDER
12   v.                                         )
                                                )
13   Caribbean Cruise Line, Inc.,               )
                                                )
14              Defendant.                      )
                                                )
15
16          Pursuant to the stipulation of the parties (Doc. 27),
17          IT IS HEREBY ORDERED that the above-captioned action is dismissed with
18   prejudice, the parties to bear their own fees and costs.
19          DATED this 2nd day of June, 2014.
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